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   8
                            UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11 ERICA S. DIGGS,                                  Case No. 8:22-cv-02091-DOC-JDE

 12                                                  AMENDED JOINT FRCP 26(f)
                           Plaintiff,                REPORT
 13
             v.
 14                                                  Date: February 21, 2022
                                                     Time: 8:30 A.M.
 15 EXPERIAN INFORMATION                             Place: Courtroom 10A
    SOLUTIONS, INC.,                                 411 West Fourth Street
 16                                                  Santa Ana, California 92701
 17               Defendant.

 18
 19
             Pursuant to the Court’s Order, Plaintiff, ERICA S. DIGGS (“Plaintiff”), and
 20
       Defendant, EXPERIAN INFORMATION SOLUTIONS, INC. (“Defendant”) submit
 21
       the following Amended Joint Rule 26(f) Report:
 22
             1.     Statement of the case:
 23
                    (a)    Plaintiff’s Statement
 24
             Plaintiff alleges that Defendant violated the Fair Credit Reporting Act
 25
       (“FCRA”) by failing to reasonably investigate, including failing to review and
 26
       consider all relevant information in, Plaintiff’s written credit dispute(s) within 30 days
 27
       of Plaintiff’s dispute(s) and continued to report inaccurate information related to the
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                                                    1
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   1 subject debt on Plaintiff’s credit report(s), including reporting the disputed
   2 information without certification from the furnisher of the same and without sending
   3 notice of the re-reporting to Plaintiff. Further, Plaintiff alleges that Defendant failed
   4 to follow reasonable procedures in preparing a consumer report and failing to notify
   5 the furnisher of information of Plaintiff’s dispute, including providing all relevant
   6 information. Moreover, Defendant failed to delete or modify the inaccurate
   7 information that was the subject of the dispute.
   8               (b)    Defendant’s Statement
   9 Defendant Experian:
 10         Experian is a “consumer reporting agency” as that term is defined by the federal
 11 Fair Credit Reporting Act (“FCRA”), 15, U.S.C. § 1681 et seq. Experian essentially
 12 functions as a storehouse of credit information concerning hundreds of millions of
 13 consumers nationwide, collecting and storing credit information originated by others.
 14 Experian does not generate credit information itself, nor does it make loans, decide
 15 who should receive credit, or set loan terms.
 16         The FCRA is not a strict liability statute and does not require Experian to
 17 maintain error free credit reporting. Rather, Experian must maintain and follow
 18 reasonable procedures to assure the maximum possible accuracy of the information it
 19 reports on consumers. In recognizing that no credit reporting system can be error free,
 20 Congress specifically provided consumers with the ability to contact credit reporting
 21 agencies to dispute information appearing on their credit disclosures. The FCRA
 22 requires consumer reporting agencies to timely reinvestigate if a consumer disputes
 23 information on his or her credit report.
 24         At all times relevant to this case, Experian maintained and followed reasonable
 25 procedures to assure maximum possible accuracy with respect to the information
 26 contained in Plaintiff’s credit file. At all times, Experian acted in good faith and
 27 without malice or intent to injure Plaintiff, and did not act negligently. Accordingly,
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   1 Experian has no liability in this case under the FCRA, and denies all liability to
   2 Plaintiff for any alleged damages.
   3         2.     Synopsis of Principle Issues:
   4         Whether the Defendant has violated the FCRA by failing to reasonably
   5 investigate Plaintiff’s written dispute(s) and continuing to report inaccurate
   6 information on Plaintiff’s credit report.
   7         Experian: Experian believes that the principal issues in this case are (1) whether
   8 Plaintiff has sufficiently stated any plausible claims for relief against Experian; (2)
   9 whether Experian employed reasonable procedures to assure the maximum possible
 10 accuracy of the information on any credit reports about Plaintiff, which it maintains
 11 it did; and (3) whether Plaintiff’s alleged damages, if any, can be attributed to
 12 Experian.
 13          3.     Addition of Parties/Amendment of Pleadings:
 14                 (a)   Plaintiff: At this time, Plaintiff does anticipate adding parties or
 15    further amending the operative complaint. Hoe
 16                 (b)   Defendant:
 17          Experian: Experian does not anticipate filing any motions to add claims,
 18 parties or amend pleadings, but reserves the right to do so.
 19        4.    Issues Which May Be Determined by Motion:
 20                (a)    Plaintiff: At this, Plaintiff is not aware of any issues which
 21    require to be determined by motion in this matter.
 22
                    (b)   Defendant:
 23
       Experian: Experian does not anticipate filing any motions to add claims, parties or
 24
       amend pleadings, but reserves the right to do so. Experian anticipates filing a motion
 25
       for summary judgment, in whole or in part, depending on the information obtained in
 26
       discovery. Experian further anticipates filing motions in limine and filing a motion to
 27
       compel the production of Plaintiff’s settlement agreement with Williams, Rush, &
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   1 Associates, LLC.
   2
   3        5.     Settlement Discussion:
   4               (a)    Plaintiff: On December 13, 2022, Plaintiff sent Defendant a
   5 settlement offer to settle this matter for $12,700.00. Plaintiff has not received a
   6 response to this email. Plaintiff would like to hold a settlement conference before
   7 the magistrate judge in this case.
   8               (b)    Defendant:
   9        Experian: Plaintiff sent Experian an initial settlement demand of $12,700.
 10 Experian has been unable to respond to Plaintiff’s settlement demand, because
 11 Plaintiff has not provided Experian with the alleged settlement agreement between
 12 Plaintiff and the furnisher (Williams, Rush, & Associates, LLC), which is necessary
 13 to engage in meaningful settlement discussions. Experian requests ADR Procedure
 14 No. 2 (Court’s Mediation Panel).
 15         6.     Discovery Plan:
 16                (a)    Plaintiff: Plaintiff anticipates written and oral discovery regarding
 17 the Defendant’s policies and procedures related to credit reporting, investigation
 18 conducted by Defendant in response to Plaintiff’s dispute, information Defendant
 19 exchanged with the originator of the subject debt, etc. Plaintiff may also conduct third-
 20 party discovery to the originator of the debt at issue. The parties do not anticipate any
 21 changes in the disclosures required by Rule 26(a). The number of interrogatories,
 22 requests for admissions, and requests for production of documents, as well as number
 23 and length of depositions, shall be as set forth in the Federal Rules of Civil Procedure.
 24 The parties do not anticipate any issues with Electronically Stored Information
 25 (“ESI”). If any ESI is exchange .pdf will be the default format (where applicable)
 26 unless native format is requested.
 27
            (b)    Defendant:
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   1         Experian does not believe that discovery needs to be conducted in phases and
   2
       agrees to abide by the limitations on discovery set forth in the Federal Rules of Civil
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       Procedure. Experian anticipates that discovery will focus on the Williams, Rush, &
   4
   5 Associates’ account at issue, the nature and scope of Plaintiff’s disputes with
   6
       Experian and the furnisher, the nature of the investigations conducted by Experian,
   7
       the validity of the alleged settlement agreement between Plaintiff and the furnisher,
   8
   9 and Plaintiff’s alleged damages. Experian intends to propound interrogatories,
 10
       document requests, and requests for admissions. Following completion of written
 11
       discovery, Experian anticipates taking Plaintiff’s deposition and the deposition(s) of
 12
 13 any relevant third-party witnesses, including as to Plaintiff’s alleged damages
 14
       including, but not limited to, any creditor who Plaintiff alleges denied her credit or
 15
       otherwise injured her purportedly due to the disputed credit information.
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             7.     Trial:
 19
                    (a)      Plaintiff: When Plaintiff filed her Complaint, she requested a jury
 20
 21 trial which she anticipates will last two (2) days.
 22
 23                 (b)      Defendant: Plaintiff has requested a jury trial. Experian

 24 requests a bench trial and estimates 3-4 days are needed for trial.
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 26
 27 8.       Other Issues
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   1        (a)    Plaintiff: Plaintiff is not aware of any other issues affecting the status
   2        of management of this Plaintiff. Plaintiff propose the following dates
   3        Experian: Experian anticipates that this action may require the production of
   4 confidential, trade secret, and/or commercially sensitive information. If so,
   5 Experian anticipates that the parties will submit a Stipulated Protective Order. As
   6 stated-above, Experian anticipates filing a motion to compel the production of
   7 Plaintiff’s settlement agreement with Williams, Rush, & Associates, LLC
   8        9. Proposed Dates
   9               1.    Discovery cutoff date:                   October 7, 2023
 10                2.    Final motion cutoff date:                November 28, 2023
 11                3.    Final Pretrial Conference Date:          January 22, 2024
 12                4.    Trial Date                               March 5, 2024
 13
 14 DATED: February 9, 2023                   Respectfully submitted,
 15                                           /s/ Bobby C. Walker
 16                                           Bobby C. Walker
                                              California Bar No. 321788
 17                                           Counsel for Plaintiff
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 20                                           bwalker@sulaimanlaw.com
 21
 22
       DATED: February 9, 2023                Respectfully submitted,
 23
 24                                           /s/ Kia Harper-Gopaul
                                              Kia Harper-Gopaul
 25                                           Counsel for Defendant
 26                                           Jones Day
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